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  June 21, 2023

  Alessandra Stivelman, Esq.          via email to: astivelman@eisingerlaw.com
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  4000 Hollywood Blvd., Ste 265-S
  Hollywood, FL 33201

  RE:   San Remo Golf & Tennis Club Condominium Association Inc.’s Denial of
        Cynthia Buckley’s Request for Accommodation


  Dear Ms. Stivelman:

  I hope this correspondence finds you well. I have been retained by Cynthia
  Buckley to address the denial of her request for accommodation for an emotional
  support animal. As you are aware, on May 25, 2023, my client requested that San
  Remo Golf & Tennis Club Condominium Association Inc. waive its pet restriction
  as an accommodation of her disability.

  It would appear that San Remo Golf & Tennis Club Condominium Association
  Inc. has already violated the Fair Housing Act in multiple ways. First, by
  discussing Ms. Buckley’s request for accommodation with my client’s “fellow
  neighbors” her rights of privacy have been violated. Ms. Buckley’s disability-
  related request for accommodation should never have been discussed with anyone
  except those directly involved in considering her accommodation request.


                                                                     EXHIBIT 8
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  Second, if San Remo Golf & Tennis Club Condominium Association Inc. was
  skeptical of the legitimacy of Ms. Buckley’s disability or need for an
  accommodation, it was obligated to request additional documentation or open a
  dialogue rather than immediately refusing the requested accommodation. Bhogaita
  v. Altamonte Heights Condo. Ass'n, 765 F.3d 1277, 1287 (11th Cir. 2014), citing
  Jankowski Lee & Associates v. Cisneros, 91 F.3d 891, 895 (7th Cir. 1996).

  Finally, in addition to flatly denying Ms. Buckley’s requested accommodation, the
  Association caused a threatening letter to be sent to Ms. Buckley warning “that the
  law also states that there can be criminal penalties if a person falsifies information
  or documents, or knowingly provides fraudulent information or documents, to
  support an emotional support animal request, or who otherwise knowingly and
  willfully misrepresents their disability status or needs, commits a misdemeanor
  offense in the second degree.” (emphasis in the original) The Association cannot
  prosecute a person for a crime and had no obligation to provide Ms. Buckley legal
  advice. The Association’s gratuitous legal advice along with the demand that she
  immediately remove her emotional support animal or face “fines, penalties, and/or
  legal proceedings” are clearly an illegal attempt to intimidate Ms. Buckley into not
  pursuing her fair housing rights.

  Your letter incorrectly insinuates that Ms. Buckley has proffered a letter she
  purchased from the internet. To the contrary, she has been treating with Dorit
  Morecraft for a year and a half. The letter written by Ms. Morecraft verifies that
  Ms. Buckley has a condition that “substantially limits several major life activities,”
  and explains how living with Winnie helps ameliorate the symptoms of Ms.
  Buckley’s disability. Accordingly, San Remo Golf & Tennis Club Condominium
  Association Inc. has been provided more than sufficient information regarding Ms.
  Buckley’s need for an accommodation and I look forward to prompt confirmation
  that any restrictions that would prevent Ms. Buckley from living with her dog
  Winnie for emotional support animal will be waived for as long as Ms. Buckley is
  a resident of San Remo Golf & Tennis Club Condominium Association Inc. If such
  confirmation has not been provided by June 28, 2023, I will take legal action on
  Ms. Buckley’s behalf.

                                   Regards,

                                   /s/Marcy I. LaHart
                                   Marcy I LaHart, Esq.
